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 January 25, 2022
 VIA CM-ECF
 The Honorable Sherry R. Fallon
 United States District Court for the District of Delaware
 844 N. King Street
 Wilmington, DE 19801                                                                                                            ALBANY
                                                                                                                                 AMSTERDAM
           Re:        Chervon (HK) Limited v. One World Technologies, Inc., No. 19-cv-1293                                       ATLANTA

 Dear Magistrate Judge Fallon:                                                                                                   AUSTIN
                                                                                                                                 BOSTON
        A privileged and confidential invention record was inadvertently unsealed and                                            CHICAGO
 Chervon respectfully requests that the Court seal the document. Chervon specifically                                            DALLAS
 requests that Exhibit D of Exhibit 13 of D.I. 239 be sealed.                                                                    DELAWARE

         By way of background, Defendants attached the document at issue as an exhibit to                                        DENVER
                                                                                                                                 FORT LAUDERDALE
 an exhibit to a discovery dispute letter filed on November 22, 2021. (D.I. 239.)
                                                                                                                                 HOUSTON
 Defendants filed a redacted version of their discovery dispute letter that redacted Exhibits 1,
                                                                                                                                 LAS VEGAS
 2, 3, and 13. (D.I. 241.) On November 23, 2021, Chervon clawed back that document as
                                                                                                                                 LONDON*
 privileged. On November 30, 2021, the Court ordered the parties to jointly submit a letter                                      LOS ANGELES
 to the Court explaining why Exhibits 1, 2, 3, and 13 should remain under seal. (11/30/2021                                      MEXICO CITY+
 Oral Order.) Upon review of Exhibits 1, 2, 3, and 13 attached to D.I. 239, the exhibits                                         MIAMI
 attached to Exhibit 13 of D.I. 239 were inadvertently not considered. One of those exhibits,                                    MILAN**
 namely, Exhibit D, is a privileged, confidential invention record that is currently the subject                                 NEW JERSEY
 of a privilege dispute between the parties. (See D.I. 257 (“Whether Plaintiffs are                                              NEW YORK
 withholding invention records documents under an improper claim of attorney-client                                              ORANGE COUNTY
 privilege….”).) Defendants’ counsel advised Chervon yesterday evening that Exhibit D of                                         ORLANDO
 Exhibit 13 of D.I. 239 remains in the public record. Chervon has diligently advised the                                         PALM BEACH COUNTY

 Court of the situation through this letter.                                                                                     PHILADELPHIA
                                                                                                                                 PHOENIX
         Disclosure of Chervon’s (i) privileged and (ii) confidential invention record would                                     ROME**
 “work a clearly defined and serious injury to” Chervon. See In re Avandia Mktg., Sales                                          SACRAMENTO
 Practices & Prods. Liab. Litig., 924 F.3d 662, 672 (3d Cir. 2019) (quoting Miller v. Ind.                                       SAN FRANCISCO
 Hosp., 16 F.3d 549, 551 (3d Cir. 1994) (internal quotation marks omitted)). Privileged                                          SEOUL∞
 information is not discoverable. FED. R. CIV. P. 26(b) (“Parties may obtain discovery                                           SHANGHAI
 regarding any nonprivileged matter….” (emphasis added)). “[I]t generally is acknowledged                                        SILICON VALLEY
 that the attorney-client privilege is so sacred and so compellingly important that the courts                                   TALLAHASSEE
 must, within their limits, guard it jealously.” Haines v. Liggett Group Inc., 975 F.2d 81, 90                                   TAMPA

 (3d Cir. 1992) (citations and quotations omitted); In re Spalding Sports Worldwide, Inc.,                                       TEL AVIV^

 203 F.3d 800, 805 (Fed. Cir. 2000) (“We therefore hold that an invention record constitutes                                     TYSONS CORNER

 a privilege communication, as long as it is provided to an attorney ‘for the purpose of                                         WARSAW~

 securing primarily legal opinion, or legal services, or assistance in a legal proceeding.’”).1                                  WASHINGTON, D.C.
                                                                                                                                 WHITE PLAINS
                                                                                                                                 * OPERATES AS GREENBERG
                                                                                                                                   TRAURIG MAHER LLP
 1
  Defendants have challenged the privileged nature of Chervon’s invention records, and the                                       + OPERATES AS
                                                                                                                                      GREENBERG TRAURIG, S.C.

 parties briefing on that issue (among others) is due to be filed on 1/27-28.                                                    ^ A BRANCH OF
                                                                                                                                   GREENBERG TRAURIG, P.A.
                                                                                                                                   FLORIDA, USA
                                                                                                                                 ~    OPERATES AS
                                                                                                                                      GREENBERG TRAURIG GRZESIAK sp.k.

 Greenberg Traurig, LLP  Attorneys at Law  WWW.GTLAW.COM                                                                       ∞ OPERATES AS

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                                                                                                                                      FOREIGN LEGAL CONSULTANT
                                                                                                                                      OFFICE
                                                                                                                                 **   STRATEGIC ALLIANCE
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          The harms associated with disclosure of Chervon’s privileged and confidential
 invention record is self-evident: it would give the public access to the inner workings of
 Chervon’s invention and patent prosecution process and access to privileged requests for, and
 reflections, of legal advice. (See Declaration of Matthew Levinstein attached hereto).
 Chervon’s invention record also details specific product features for which Chervon may seek
 (or may have sought) patent protection. Placing Chervon’s privileged invention record in the
 public’s hands, including Chervon’s competitor, would jeopardize Chervon’s patent
 eligibility, Chervon’s first to market advantages, and the confidentiality of Chervon’s internal
 processes and standard practices that contribute to Chervon’s overall value and ability to
 compete in the market, etc. (Id.) For these reasons, Chervon requests that the Court seal
 Exhibit D of Exhibit 13 of D.I. 239 because it is privileged and because it contains
 confidential information that would harm Chervon if it remains publicly available.

                                                                                       Sincerely,

                                                                                       /s/ Benjamin J. Schladweiler

                                                                                       Benjamin J. Schladweiler (#4601)




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